         Case 23-51696-bem             Doc 12     Filed 03/07/23 Entered 03/07/23 18:33:44                       Desc Main
                                                  Document     Page 1 of 1

                                             United States Bankruptcy Court
                                                   Northern District of Georgia
 In re   Matthew Ryan Stucke                                                                  Case No.
                                                                  Debtor(s)                   Chapter    7

                                          PAYMENT ADVICES COVER SHEET
                                           UNDER 11 U.S.C. § 521(a)(1)(B)(iv)


I, ___________________
   Matthew R. Stucke , declare under penalty of perjury that the foregoing is true and correct (CHECK ONE OF THESE
         BOXES):

         I have not been employed by any employer within the 60 days before the date of the filing of the petition.

✔        I was employed by an employer within 60 days before the date I filed my bankruptcy petition, but I have not received
         payment advices or other evidence of payment because
          because I am self-employed




         I have received payment advices or other evidence of payment within 60 days before the date I filed my bankruptcy
         petition from any employer, and they are attached




Date 02/21/2023                                       Signature    /s/ Matthew Ryan Stucke

                                                                   Debtor
